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                                                                         U,S. DISTRICT COURT
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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF WYOMING

Northwest Pipeline GP, a Delaware general
partnership,
                                                                  COMPLAINT
                    Plaintiff,

vs.
                                                             Case No.   1 2 CV0 21f
Chevron Mining, Inc., a Missouri
corporation,

                    Defendant.


             Plaintiff Northwest Pipeline GP ("Northwest") hereby complains of defendant Chevron

Mining, Inc. ("Chevron") and for cause of action alleges:




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                                         SUMMARY OF CLAIMS
             1.      In this case, Northwest sues Chevron to recover the costs it has incurred and will

incur in monitoring, isolating, stabilizing, by-passing, and relocating a segment of two interstate

natural gas pipelines it owns and operates in the vicinity of Kemmerer, Wyoming (hereinafter

"pipelines" or "pipeline system").

             2.      Northwest began its work to monitor, isolate, stabilize, by-pass and relocate its

pipelines after learning of land movement beneath and surrounding the pipelines in the summer

of 2011. The land movement was caused by Chevron's coal mining activities in an area

immediately adjacent to the pipeline system. Northwest believes that Chevron carelessly mined

property adjacent to the pipeline system, with the result that the earth surrounding Northwest's

pipelines cracked and developed deep fissures emanating from Chevron's mine. Chevron's

actions also caused a section of the nearby State Highway 30 to buckle and crack. As a direct

result of Chevron's conduct, the integrity of the high pressure natural gas pipeline system was

compromised, requiring Northwest to isolate and reduce stress on the pipelines, install land

movement detection equipment, design, engineer and construct a temporary bypass of the

pipelines, and design, engineer, and construct a permanent relocation of the two pipelines and

ancillary equipment.

             3.      Northwest advised Chevron that it held Chevron solely responsible for the

damage to the pipeline system and demanded that Chevron agree to reimburse Northwest for the

costs of taking the actions summarized above. Chevron has refused to do so.

             4.      In the causes of action set forth below, Northwest claims (a) that Chevron is liable

to Northwest under the federal Surface Mining Control and Reclamation Act, 30 U.S.C. §

1270(f), and the Wyoming Surface Mining Act, Wyo. Stat. Ann. §35-11-902(0), which

specifically protect natural gas pipelines from surface mining activities in Wyoming; (b) that

Chevron is liable to Northwest for violation of the latter's common law right to lateral support;

(c) that Chevron is liable to Northwest for private nuisance resulting from its mining activities;

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(d) that Chevron is liable to Northwest for public nuisance arising from Chevron's impairment of

the public's right to uninterrupted natural gas service and damage to the public highway; and (e)

that Northwest should obtain declaratory and injunctive relief to prevent Chevron from

interfering with Northwest's pipeline facilities in the future. In this complaint, Northwest alleges

that it is entitled to declaratory relief, injunctive relief and damages based on a strict liability

standard. If the Court determines that one or more of Northwest's claims require proof of

negligence, Northwest alleges that Chevron failed to exercise reasonable care in conducting its

operations and in failing to adopt reasonable precautions that would have prevented the damage

to Northwest's pipeline facilities and the disruption of services provided by the facilities.

                              THE PARTIES. JURISDICTION AND VENUE

             5.       Northwest is a general partnership organized under the laws of Delaware with its

principal place of business in Utah. Northwest's general partner is a Delaware limited

partnership whose principal place of business is in Utah. Northwest is the owner and operator of

an interstate natural gas pipeline system, a portion of which traverses Lincoln County, Wyoming,

near the town of Kemmerer.

             6.       Chevron is a corporation organized under the laws of Missouri with its principal

place of business in Colorado. It owns and operates a surface coal mine in Lincoln County,

Wyoming, known as the Kemmerer Coal Mine. The Kemmerer Coal Mine is located adjacent to

a segment of Northwest's pipeline system in Lincoln County, Wyoming.

             7.       This Court has subject matter jurisdiction over this case under 28 U .S.c. § 1331

because it is a civil action that arises under the federal Surface Mining Control and Reclamation

Act, 30 U.S.c. § 1270(f).

             8.       This Court also has subject matter jurisdiction pursuant to 28 U.S.c. § 1332

because it is a civil action between citizens of different states where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.



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             9.       This Court has personal jurisdiction over Chevron because it owns property and
regularly conducts business in Wyoming.

             10.      Venue is proper in this district under 28 U.S.c. § 1391(a) because a substantial

part of the events giving rise to the claims occurred in this district, and because Chevron is
subject to personal jurisdiction in this district.

                                                    FACTS
             11.      Northwest is a federally regulated interstate natural gas pipeline company which

owns and operates a system that runs from New Mexico through Colorado, Utah, Wyoming,

Idaho, Oregon and Washington, terminating near the Canadian border. In the vicinity of

Kemmerer, Wyoming, the system consists of two parallel pipelines having diameters of 26

inches and 30 inches respectively, the Kemmerer Compressor Station, and ancillary facilities.

             12.      Northwest's pipeline system provides natural gas to markets throughout the

western United States. It is a primary source of natural gas for local distribution companies,

industries, municipalities, and other end-users in Idaho, Oregon and Washington, as well as for

"off-system" markets in other states. Northwest's operations are regulated by the Federal Energy

Regulatory Commission and the United States Department of Transportation's Pipeline and

Hazardous Materials Safety Administration.

             13.      In the vicinity of Kemmerer, Wyoming, the pipeline system is located entirely

within a 60-foot wide perpetual easement obtained by deed from Union Pacific Land Resources

Corporation dated Apri113, 1972 (the" 1972 Deed"). The pipeline system in this area parallels

State Highway 30, which runs in a northwesterly direction south of Kemmerer.

             14.      Chevron conducts coal mining operations at the Kemmerer Coal Mine near

Kemmerer. The coal mine is located on property adjacent to Northwest's pipeline system and

State Highway 30. Chevron mines the property pursuant to a Special Warranty Deed dated

October 13, 1983, from Rock Springs Royalty Company. Under the 1983 Special Warranty

Deed, Chevron's right to extract coal was explicitly made subject to Northwest's preexisting

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rights under the 1972 Deed and any and all restrictions and limitations imposed by public

authority.

             15.   In the summer of 2011, Chevron notified Northwest that large cracks had

appeared in the earth beneath Northwest's pipeline system immediately adjacent to the northern

face of the Kemmerer Coal Mine.

             16.   Northwest immediately investigated the cracks and their impact on its pipeline

system. Its investigation disclosed that, as the result of cracks and earth movement emanating

from the northern wall of the Kemmerer Coal Mine, the pipeline system had been subjected to

dangerous levels of stress. Northwest undertook operations to relieve the stress, but it became

increasingly concerned that unless the pipeline system was shut down, by-passed, and relocated,

complete failure of the system would be imminent.

             17.   On July 14,2011, Northwest representatives met with Chevron and its consultants

to discuss the situation. Chevron's geotechnical consultant, John Kanuchi, reported on his

investigation of cracks and earth movement caused by Chevron's mining operations near the

Northwest pipeline system. He reported that Chevron had not shored or otherwise stabilized the

northern wall of the mine, which was immediately adjacent to the Northwest pipeline system and

State Highway 30, which runs parallel to the pipelines. He observed that State Highway 30 had

buckled as the result of cracks and earth movement emanating from the coal mine. He also

reported that the cracks in the vicinity of the pipelines had begun developing more than a year

before as Chevron's mining activities intensified in the area. He reported that the cracks were

becoming worse and threatened to cause further earth movement that would damage the pipeline

system. He advised Northwest's representatives that, as moisture penetrated the ground during

the September rainy season and thereafter, there was a "decent probability" that the northern wall

of the mine would move, causing a massive shift in the earth underlying the pipelines and State

Highway 30. This shift in the earth could result in catastrophic damage to the pipeline system.

Mr. Kanuchi recommended that before September 2011 Northwest move the pipelines to avoid

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failure of the system, and he provided Northwest with a map of the potential slide area to warn

Northwest of the area to avoid in rerouting the system. Northwest's engineers and its consultant

had no reason to disagree with Chevron's assessment of the risk.

             18.      Beginning in July 2011, Northwest began planning and then implementing a two-

step strategy to relocate the relevant segment of its pipeline system to a new route that would be

unaffected by Chevron's mining activities. The first step in the strategy was to build a temporary

rerouted pipeline on an emergency basis at a location about 400 yards from the mine. The

second step was to acquire the land rights and permits necessary to rebuild the 26-inch and 30­

inch lines over a newly acquired permanent route about a mile from the northern face of the

Kemmerer Coal Mine. The route for the permanent relocation of the pipeline system coincides

with the State of Wyoming's planned rerouting of State Highway 30, which will also be

relocated to avoid further damage from Chevron's mining activities.

             19.      Beginning in the summer of 2011 and at all relevant times thereafter, Northwest

kept Chevron fully advised of its plans. As Northwest proceeded with work to obtain land rights

and permits for the new locations, it kept Chevron apprised of the proposed routes. It provided

Chevron with its designs for the rerouting of the system. Northwest also made it clear to

Chevron that it expected Chevron to reimburse Northwest for all of the costs of relocating the

pipeline system to both the temporary site and the permanent site.

                                     FIRST CAUSE OF ACTION
             Violation of 30 U.S.C. § 1201 et seq. and Wyo. Stat. Ann. § 35-11-401 et seq.
             20.      Northwest hereby realleges the facts set forth in paragraphs 1 through 19, above.

             21.      Chevron's operation of the Kemmerer Coal Mine is subject to regulation under

the federal Surface Mining Control and Reclamation Act of 1977 (the "Federal Act"), 30 U.S.c.

§1201 et seq., and the Wyoming Surface Mining Act (the "Wyoming Act"), Wyo. Stat. Ann. §

35-11-401 et seq.




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         22.       Both the Federal Act and the Wyoming Act establish a private cause of action for

any person who is damaged in his person or property through the violation of any operator of any

rule, regulation, order or permit under Wyoming's surface coal mining program. 30 U.S.C. §

1270(t); Wyo. Stat. Ann. § 35-11-902(0).
             23.   The Wyoming Act established a surface mining regulatory program that was

designed to comply with the requirements of the Federal Act and was approved as such by the

United States Department of the Interior.
             24.   Under the Wyoming Act, Wyo. Stat. Ann. §35-11-406(b)(xiii), Chevron had the

obligation to adopt mining procedures that would "avoid constituting a public nuisance,

endangering the public safety ...[or] property ... in or adjacent to the permit area," Under

other provisions of the Wyoming Act, id. § 35-11-415(b)(xi)(C)(II), Chevron had the obligation

to avoid any use of explosives that would "damage property outside the permit area."

             25.   Under Wyoming state regulations adopted by the State's Department of

Environmental Quality pursuant to the Wyoming Act, Chevron had the obligation to "minimize

damage, destruction, or disruption of services" provided by natural gas pipelines that are not part

of the surface coal mining operation. Code of Wyo. Rules § 020-040-004(2)(x). Wyoming

courts have interpreted this provision to require surface coal operators to avoid any damage,

destruction or disruption of natural gas pipeline services. Wyoming state re.gulations also

prohibit surface coal mining operations within 100 feet of a public road unless a public hearing is

held and the Wyoming Department of Environmental Quality finds that the interests of the public

and landowners are protected. rd. § 020-040-12(1 )(v)(D).

             26.   Chevron has violated the Federal Act, the Wyoming Act, and Wyoming

regulations governing coal surface mining in at least the following respects:

                   (a)    Chevron conducted its coal mining operations so as to constitute a public

nuisance that endangered the public safety and the integrity of Northwest's pipeline system and



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threatened to disrupt natural gas transmission services to millions of people in markets served by

the system.

                   (b)    Northwest alleges on information and belief that Chevron failed to avoid

the use of explosives that would cause damage to Northwest's pipeline system.

                   (c)    Chevron failed to minimize or avoid damage, destruction and disruption of

services provided by Northwest's pipeline system.

                   (d)    Chevron conducted its mining operations without taking reasonable

precautions necessary to avoid damage, destruction and disruption of services provided by

Northwest's pipeline system.

                   (e)    Chevron conducted its coal mining operations so as to constitute a public

nuisance that endangered the public safety by causing damage to State Highway 30, without an

agency determination that the interests of the public and Northwest were protected.

             27.   As the direct result of Chevron's misconduct, Northwest has been injured in the

following respects:
                   (a)    Northwest has been required to terminate natural gas transmission service

through a segment of its pipeline system that is more than a mile in length; and

                   (b)    Northwest has been required to reroute this segment of its pipeline system,

thereby incurring costs that it estimates will exceed $20,000,000 upon completion of the work

described in paragraph 17, above.

             28.   Northwest is entitled to an order of the Court declaring that Chevron's misconduct
constituted a violation of the Federal Act, the Wyoming Act, and the regulations adopted

pursuant to the Wyoming Act, and that Chevron is liable to Northwest for all damages suffered

as a consequence.

             29.   Northwest is further entitled to an award of damages as follows:
                   (a)    Northwest is entitled to recover from Chevron all costs and expenses it has

expended and must yet expend in monitoring and attempting to mitigate the stress to its pipeline

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system, and in isolating, stabilizing, by-passing, and relocating the natural gas transmission

system;
                   (b)    Northwest is entitled to recover interest on all such costs and expenses at

the highest allowable rate; and
                   (c)    Pursuant to 30.U.S.c. § 1270(f) and Wyo. Stat. Ann §35-11-902(0),

Northwest is entitled to recover all of its attorney fees and expert witness fees incurred in

enforcing its rights.
                                  SECOND CAUSE OF ACTION
                               Deprivation of Right to Lateral Support

             30.   Northwest hereby realleges the facts set forth in paragraphs 1 through 29, above.

             31.   Under the common law of Wyoming, Northwest has the right of lateral support
with respect to the permanent easement on which its pipeline system runs. Persons who conduct

operations on adjacent properties are prohibited by law from activities that would deprive
Northwest's pipeline system of lateral support.
             32.   Chevron has violated Northwest Pipeline's right to lateral support in at least the
following respects:
                   (a)    Chevron has conducted mining operations so as to cause massive shifts in

the earth adjacent to and underlying Northwest's pipeline system, with the result that the pipeline
system's integrity was threatened, thereby compelling termination of natural gas transmission
service and relocation of the system.

                   (b)    Chevron failed to exercise reasonable care in the design of its mine, with
the result that Northwest's easement was deprived of lateral support.

                   (c)    Chevron failed to exercise reasonable care in its use of explosives and

equipment, with the result that Northwest's easement was deprived of lateral support.

             33.   As a direct result of Chevron's misconduct, Northwest has been injured in the
following respects:


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                  (a)    Northwest has been required to terminate natural gas transmission service

through a segment of its pipeline system that is more than a mile in length; and

                  (b)    Northwest has been required to reroute this segment of its pipeline system,

thereby incurring costs that it estimates will exceed $20,000,000 upon completion of the work

described in paragraph 17, above.

            34.   Northwest is entitled to an order of the Court declaring that Chevron's misconduct

constituted a violation of Northwest's right to lateral support and that Chevron is liable to

Northwest for all damages suffered as a consequence.

            35.   Northwest is further entitled to an award of damages as follows:
                  (a)    Northwest is entitled to recover all costs and expenses it has expended and

must yet expend in monitoring and attempting to mitigate the stress to its pipeline system, and in

isolating, stabilizing, by-passing, and relocating natural gas transmission service through its

pipeline system;

                  (b)    Northwest is entitled to recover interest on all such costs and expenses at
the highest allowable rate.

                                   THIRD CAUSE OF ACTION
                                       Private Nuisance

            36.   Northwest hereby realleges the facts set forth in paragraphs 1 through 35, above.

            37.   Under the common law of Wyoming, Northwest has the right of quiet enjoyment

of the permanent easement over which its pipeline system runs. Persons who occupy adjacent

property may not make unreasonable, unwarranted, or unlawful use of their own property that

results in obstruction or injury to the property rights of adjacent owners or occupants. Chevron's

unreasonable, unwarranted, or unlawful activities constitute a private nuisance that prevents
Northwest Pipeline from quiet and lawful use of its easement.

            38.   Chevron has interfered with Northwest Pipeline's right to use its easement in at

least the following respects:


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                   (a)    Chevron has conducted mining operations so as to cause massive shifts in

the earth adjacent to Northwest's pipeline system. This earth movement has invaded the

easement where the pipeline is located, causing ground cracks and otherwise threatening the

pipeline system's integrity. The nuisance has necessitated the temporary by-passing of

Northwest's natural gas transmission system and the permanent relocation of the system.

                   (b)    Chevron failed to exercise reasonable care in the design of its mine, with

the result that Northwest can no longer use its easement for its sole and stated purpose.

                   (c)    Chevron failed to exercise reasonable care in its use of explosives and

equipment, with the result that Northwest's easement no longer provides a solid and stable

support for the pipeline.

             39.   As a direct result of Chevron's misconduct, Northwest has been injured in the
following respects:
                   (a)    Northwest has been deprived ofthe reasonable and lawful use and

enjoyment of its easement;

                   (b)    Northwest has been required to terminate and by-pass natural gas

transmission service through a segment of its pipeline system that is more than a mile in length;

and

                   (c)    Northwest has been required to reroute this segment of its pipeline system,

thereby incurring costs that it estimates will exceed $20,000,000 upon completion of the work

described in paragraph 17, above.

             40.   Northwest is entitled to an order of the Court declaring that Chevron's conduct of

its mining operations is a nuisance that impairs Northwest's right to use its pipeline easement,

and that Chevron is liable to Northwest for all damages suffered as a consequence.
             41.   Northwest is further entitled to an award of damages as follows:




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                   (a)    Northwest is entitled to recover all costs and expenses it has expended and

must yet expend monitoring and attempting to mitigate the stress to its pipeline system, and in

isolating, stabilizing, by-passing, and relocating the natural gas transmission system.

                   (b)    Northwest is entitled to recover interest on all such costs and expenses at

the highest allowable rate.
                                   FOURTH CAUSE OF ACTION
                                        Public Nuisance
             42.   Northwest hereby realleges the facts set forth in paragraphs 1 through 41, above.

             43.   Together with the public, Northwest enjoys all of the benefits of an uninterrupted

supply of natural gas and the right to safe and unobstructed use of the state's public highways.

Chevron's unreasonable, unwarranted, or unlawful activities constituted a public nuisance that, if

left uncorrected, would prevent the public generally, and Northwest Pipeline specifically, from

continuing to enjoy the benefits of an uninterrupted natural gas supply and from safe and lawful

use of the public highway adjacent to the Mine.

             44.   Chevron has interfered with Northwest Pipeline's right to use its easement in at

least the following respects:
                   (a)    Chevron has unlawfully interfered with Northwest's natural gas

transmission system and with the public highway adjacent to its Kemmerer Mine by threatening

the integrity of the pipeline system and causing the public highway to be obstructed or

hazardous, in violation of section 35-1O-401(a) of the Wyoming Statutes. Chevron's mining

operations have caused severe and irreversible earth movement rendering the pipeline system

unsafe and inoperable and the highway unsafe. Both the pipeline system and State Highway 30

require relocation as the result of Chevron's conduct.

                   (b)    Northwest's damages are separate and distinct from those of the public at

large because, as set forth above, the same activities which have deprived the public of its rights




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also deprived Northwest of its use and enjoyment of the pipeline easement located near the

highway.

             45.   As a direct result of Chevron's misconduct, Northwest has been injured in the

following respects:
                   (a)    Northwest, together with the public generally, has been deprived of its

right to safe use of the public highway;

                   (b)    Northwest has been deprived of the reasonable and lawful use and

enjoyment of its pipeline located in its easement near the public highway;

                   (c)    Northwest has been required to terminate natural gas transmission service

through a segment of its pipeline system that is more than a mile in length; and

                   (d)    Northwest has been required to reroute this segment of its pipeline system,

thereby incurring costs that it estimates will exceed $20,000,000 upon completion of the work

described in paragraph 17, above.

             46.   Northwest is entitled to an order of the Court declaring that Chevron's mining

operations near the highway and easement constitutes a public nuisance.

             47.   Northwest is further entitled to an award of damages as follows:
                   (a)    Northwest is entitled to recover all costs and expenses it has expended and

must yet expend in monitoring and attempting to mitigate the stress to its pipeline system, and in

isolating, stabilizing, by-passing, and relocating the natural gas transmission system; and

                   (b)    Northwest is entitled to recover interest on all such costs and expenses at

the highest allowable rate.

                                   FIFTH CAUSE OF ACTION
                                  Declaratory and Injunctive Relief

             48.   Northwest hereby realleges the facts set forth in paragraphs 1 through 47, above.

             49.   As alleged in paragraph 18 and 19, above, Northwest is now in the process of

relocating the relevant portion of its pipeline facilities to a newly acquired permanent route about


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a mile from the northern face of the Kemmerer Coal Mine. Northwest has kept Chevron

apprised of the proposed permanent route and has provided Chevron with specific location

information for the rerouted system so as to avoid future damage to its system from Chevron's

mining activities.
             50.   Although Chevron has not objected to Northwest's proposed permanent route for

its pipeline system, Chevron has taken the position that it has a continuing right to conduct

mining operations without regard to the location of the Northwest pipeline system. Chevron has

also taken the position that its mining activities may lawfully interfere with Northwest's pipeline

operations and that Northwest must bear the economic burden of any further relocation in the

event of a future conflict between Chevron's mining activities and Northwest's pipeline

activities.
             51.   An actual controversy has arisen between Northwest and Chevron concerning

their respective rights and obligations:
                   (a)    On the one hand, Northwest takes the position that it is entitled to operate

its pipeline facilities over a newly acquired route without interference from Chevron, and that

under the federal Act, the Wyoming Act, and the common law, Chevron is forbidden from·

undertaking mining activities that would interfere with the pipeline facilities.

                   (b)    On the other hand, Chevron takes the position that it may lawfully conduct

mining operations without regard to the location of Northwest's pipeline facilities, that

Northwest's pipeline facilities trespass on any lands as to which Chevron has the right to extract

coal, and that Northwest must bear the economic burden to relocate its pipeline facilities if

Chevron chooses to conduct mining operations in the vicinity of Northwest's pipeline facilities.

             52.   Pursuant to the terms of 28 U.S.c. §§2201 and 2202, Northwest is entitled to an

order as follows:
                   (a)    Declaring that Northwest is entitled to operate its pipeline facilities over

the newly acquired route without any future interference or threat of interference from Chevron;


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                   (b)    Declaring that the law forbids Chevron from undertaking any mining

activities that interfere with or threaten the integrity of Northwest's pipeline activities; and

                   (c)    Permanently enjoining Chevron from undertaking any such mining

activities.

             WHEREFORE, Northwest demands judgment as follows:

             1.    With respect to its First Cause of Action, Northwest requests:
                   (a)     An order of the Court declaring that Chevron's misconduct constituted a

violation of the Federal Act, the Wyoming Act, and the Wyoming regulations adopted pursuant

to the Wyoming Act and that Chevron is liable to Northwest for all damages suffered as a

consequence;

                   (b)     An award of damages equaling all of its costs and expenses incurred in

monitoring and attempting to mitigate the stress to its pipeline system, and in isolating,

stabilizing, by-passing, and relocating the natural gas transmission system.

                   (c)     An award of interest on all such costs and expenses at the highest

allowable interest rate; and

                   (d)     An award of all of its attorney fees and expert witness fees incurred in

enforcing its rights.

             2.    With respect to its Second Cause of Action, Northwest requests:
                   (a)     An order of the Court declaring that Chevron's misconduct constituted a

violation of Northwest's right to lateral support and that Chevron is liable to Northwest for all

damages suffered as a consequence;

                   (b)    An award of damages equaling all of its costs and expenses incurred in

monitoring and attempting to mitigate the stress to its pipeline system, and in isolating,

stabilizing, by-passing, and relocating the natural gas transmission system; and

                   (c)    An award of interest on all such costs and expenses at the highest

allowable interest rate.

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             3.    With respect to its Third Cause of Action, Northwest requests:
                   (a)     An order of the Court declaring that Chevron's mining operations causing

the ground movement are a private nuisance that has impaired Northwest's lawful interests in the

pipeline easement;

                   (b)    An award of damages equaling all of its costs and expenses incurred in

monitoring and attempting to mitigate the stress to its pipeline system, and in isolating,

stabilizing, by-passing, and relocating the natural gas transmission system; and

                   (c)    An award of interest on all such costs and expenses at the highest

allowable interest rate.

             4.    With respect to its Fourth Cause of Action, Northwest demands:
                   (a)    An order of the Court declaring that Chevron has conducted its operations

in a manner constituting a public nuisance, and that Chevron is liable to Northwest for all
damages suffered as a consequence;

                   (b)     An award of damages equaling all of its costs and expenses incurred in

monitoring and attempting to mitigate the stress to its pipeline system, and in isolating,

stabilizing, by-passing, and relocating the natural gas transmission system; and

                   (c)     An award of interest on all such costs and expenses at the highest

allowable interest rate.

             5.    With respect to its Fifth Cause of Action, Northwest demands an order:
                   (a)    Declaring that Northwest is entitled to operate its pipeline facilities over
the newly acquired route without any future interference or threat of interference from Chevron;

                   (b)    Declaring that the law forbids Chevron from undertaking any mining

activities that interfere with or threaten the integrity of Northwest's pipeline activities; and

                   (c)    Permanently enjoining Chevron from undertaking any such mining

activities.

             6.    With respect to all of its causes of action, Northwest demands all such other relief


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as the Court deems just~                             /i
             DATED   thi~ day of January, 2012. ,/    /


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